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                           UNITED STATES DISTRICT COURT
                               DISTRICT OF MINNESOTA


United States of America,                         Case No. 20-cr-27 (SRN/DTS)

              Plaintiff,
                                                  ORDER
v.

Demarlo Dontrell Hudson,

              Defendant.


       The Court, being duly advised in the premises, upon all the files, records, and

proceedings herein, now makes and enters the following Order.

       IT IS HEREBY ORDERED that:

       1.    Hudson’s Motions to disclose and make informant available for interview

[Docket Nos. 19 & 49] are GRANTED consistent with the requirements of Roviaro v.

United States, 353 U.S. 53 (1957), United States v. Padilla, 869 F.2d 372 (8th Cir. 1989),

and their progeny. The United States shall disclose the identity of any informant and make

that informant available to Hudson 14 days prior to the actual trial date of this matter.

       2.    Hudson’s Motion for Giglio discovery and to compel production of Brady

materials [Docket No. 20] is GRANTED consistent with the requirements of Brady v.

Maryland, 373 U.S. 83 (1963) and its progeny. Within 10 days of the date of this order the

United States must disclose all Brady and Giglio information in its possession or of which

it has become aware as of the date of this order and must promptly supplement its

disclosure upon receipt of any additional Brady and Giglio information not previously

disclosed.
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       3.    Hudson’s Motions for government agents to retain rough notes [Docket Nos.

21 & 47] are GRANTED. Rough notes must be preserved but not produced at this time.

       4.    Hudson’s Motions for pretrial disclosure of Rule 404 evidence (“bad acts”

evidence) [Docket Nos. 22 & 48] are GRANTED. The United States shall disclose Rule

404(b) evidence no later than 14 days before trial or upon learning of the existence of the

evidence, whichever occurs later. This disclosure obligation is limited to information

encompassed by Rule 404(b) and does not include acts that are intrinsic to the charged

offense.

       5.    Hudson’s Motions for discovery [Docket Nos. 43 & 56] are GRANTED IN

PART. The United States shall continue to comply with its discovery obligations under the

Federal Rules of Criminal Procedure and applicable case law. To the extent that Hudson’s

motion seeks discovery beyond that which Rule 16 requires, his motion is DENIED.

       6.    Hudson’s Motion for discovery of experts [Docket No. 44] is GRANTED. The

parties shall make expert disclosures no later than two weeks before trial.

       7.    Hudson’s Motion for attorney conducted voir dire [Dkt. No. 45] is DENIED

WITHOUT PREJUDICE. The parties may address this matter with the District Judge.

       8.    Hudson’s Motion for early disclosure of Jencks Act material [Docket No. 46]

is DENIED. Per the United States’ agreement, it will provide Jencks Act disclosures 3

business days before trial.


Dated: September 18, 2020                               s/ David T. Schultz
                                                        DAVID T. SCHULTZ
                                                        United States Magistrate Judge




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